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17
                                 UNITED STATES DISTRICT COURT
18
                             NORTHERN DISTRICT OF CALIFORNIA
19                                  SAN FRANCISCO DIVISION
20                                                      Case No. 3:20-cv-05671-JD
      EPIC GAMES, INC.,                                 Case No. 3:21-md-02981-JD
21

22                                         Plaintiff,   EPIC GAMES, INC’S
                                                        ADMINISTRATIVE MOTION TO
23                          v.
                                                        CONSIDER WHETHER ANOTHER
      GOOGLE LLC et al.,                                PARTY’S MATERIAL SHOULD BE
24
                                                        SEALED
25                                      Defendants.

26

27

28
                                                                         CASE NO. 3:20-CV-05671-JD
     EPIC’S ADMINISTRATIVE MOTION
                                                                         CASE NO. 3:21-MD-02981-JD
              Case 3:20-cv-05671-JD Document 533 Filed 11/10/23 Page 2 of 3


 1           Pursuant to Civil Local Rules 7-11 and 79-5, Plaintiff Epic Games, Inc. (“Epic”) hereby

 2   moves the Court to issue an administrative order on the filing under seal of certain portions of

 3   Epic’s Opposition to Google’s and Spotify’s Administrative Motions to Seal Trial Exhibits and

 4   Portions of Deposition of Sandra Alzetta (“Epic’s Opposition”). A public redacted version of

 5   Epic’s Opposition has been filed in accordance with this Court’s Local Rules.

 6           Subsection (f) of Civil Local Rule 79-5 sets forth procedures that apply when a party

 7   seeks to file information designated as confidential by the opposing party. Under

 8   subsection (f)(1), the Filing Party’s Administrative Motion to Consider Whether Another

 9   Party’s Material Should Be Sealed “must identify each document or portions thereof for which

10   sealing is sought”. Pursuant to subsection (f)(3) of Local Rule 79-5, the Designating Party then
11   has 7 days to file a declaration establishing that all of the designated material is “sealable”
12   according to the standards set out in subsection (c)(1), after which any party may respond
13   within 4 days, pursuant to subsection (f)(4). Civil Local Rule 79-5 provides that documents, or
14   portions thereof, may be sealed if a party makes “a specific statement of the applicable legal
15   standard and the reasons for keeping a document under seal, including an explanation of (i) the
16   legitimate private or public interests that warrant sealing; (ii) the injury that will result if
17   sealing is denied; and (iii) why a less restrictive alternative to sealing is not sufficient”. Civ.
18   L.R. 79-5(c)(1) (emphasis in original).
19           There is a “strong presumption of access” to judicial records and “‘compelling reasons’

20   must be shown to seal judicial records”. Kamakana v. City & Cnty. of Honolulu, 447 F.3d

21   1172, 1178 (9th Cir. 2006) (citations omitted). Moreover, where “the material to be sealed

22   goes to the very heart of the suit, the public interest in access is especially great”. Tevra

23   Brands LLC v. Bayer Healthcare LLC, No. 19-cv-4312, 2020 WL 1245352, at *2 (N.D. Cal.

24   Mar. 16, 2020). Compelling reasons justifying the sealing of court records generally exist

25   “when such court files might have become a vehicle for improper purposes, such as the use of

26   records to gratify private spite, promote public scandal, circulate libelous statements, or release

27   trade secrets”. Kamakana, 447 F.3d at 1179 (internal quotation marks omitted). However,

28   “[t]he mere fact that the production of records may lead to a litigant’s embarrassment,
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 1   incrimination, or exposure to further litigation will not, without more, compel the court to seal

 2   its records”. Id. Moreover, “[t]he fact that the parties may have designated a document as

 3   confidential under a stipulated protective order is also not enough to justify sealing.” (MDL

 4   Dkt. No. 89 at 2.)

 5          Epic’s Opposition contains information that is sourced from documents that Defendants

 6   Google LLC, Google Ireland Limited, Google Commerce Limited, Google Asia Pacific Pte.

 7   Limited, and Google Payment Corp. (collectively, “Google”) and non-party Spotify USA Inc.,

 8   have designated as “CONFIDENTIAL”, “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES

 9   ONLY” or “NON-PARTY HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL EYES

10   ONLY” pursuant to the operative Protective Orders entered by the Court, MDL Dkt. Nos. 238
11   and 249. Those portions are identified in the Declaration of Michael J. Zaken submitted
12   herewith and highlighted in the under seal version of Epic’s Opposition.
13          Epic opposes the sealing of any portions of these documents but seeks leave to
14   provisionally file the documents under seal because they discuss materials that Google and
15   Spotify have designated confidential or highly confidential under the protective order in this
16   case. See Local Rule 79-5(f). Plaintiffs reserve the right to oppose, under Rule 79-5(f)(4), any
17   submission Google makes to support sealing under Rule 79-5(f)(3).
18

19    Dated: November 10, 2023                    CRAVATH, SWAINE & MOORE LLP
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24

25                                                Respectfully submitted,
26                                                By:      /s/ Michael J. Zaken
                                                          Michael J. Zaken
27
                                                         Attorneys for Plaintiff Epic Games, Inc.
28
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